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         13                              UNITED STATES DISTRICT COURT
         14                               EASTERN DISTRICT OF CALIFORNIA
         15 RALPH COLEMAN,                                        Case No. Civ S 90-0520 LKK-JFM
         16                 Plaintiffs,

         17          v.
               ARNOLD SCHWARZENEGGER, et al.,
         18
                            Defendants.
         19
         20                                                       Case No. Civ. S-94-0671 LKK/GGH
               JERRY VALDIVIA, et al.,
         21                                                       PLAINTIFFS’ NOTICE OF MOTION AND
                            Plaintiffs,                           MOTION FOR INJUNCTIVE RELIEF
         22                                                       REQUIRING TIMELY ACCESS TO
                     v.                                           INPATIENT PSYCHIATRIC
         23 ARNOLD SCHWARZENEGGER, et al.,                        HOSPITALIZATION
         24          Defendants.                                  Hearing Date:   July 25, 2008
                                                                  Time:           10:00 a.m.
         25                                                       Location:       Courtroom 4
                                                                  Judge:          Hon. Lawrence K. Karlton
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                PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS TO
[219254-2]        INPATIENT PSYCHIATRIC HOSPITALIZATION - Case Nos. Civ S 90-0520 LKK-JFM; Civ S-94-0671 LKK/GGH
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              1                                           NOTICE OF MOTION
              2          TO DEFENDANTS AND THEIR ATTORNEYS OF RECORD:
              3          PLEASE TAKE NOTICE THAT on July 25, 2008, Coleman and Valdivia Plaintiffs,
              4   through their counsel of record, will and hereby do move for an order that Defendants shall
              5   immediately take all necessary steps to provide timely access to all levels of inpatient care,
              6   including inpatient beds operated by the Department of Mental Health, to persons in CDCR
              7   custody regardless of parole revocation status or parole date.
              8          This Motion is also being filed concurrently with Plaintiffs’ Notice of Motion and
              9   Motion For Leave to File Consolidated Motion and Request For Modification of Protective
             10   Orders.
             11          This Motion is based on this Notice of Motion and Motion, the Memorandum of Points
             12   and Authorities filed herewith, the Declarations of Jane E. Kahn, Ernest Galvan, and Lori
             13   Rifkin in Support of this Motion, the Notice of Motion and Motion for Leave to File
             14   Consolidated Motion and Request for Modification of Protective Orders, the Memorandum of
             15   Points and Authorities and Declaration of Michael W. Bien in support thereof, the pleadings
             16   and orders on file in the above-captioned matters, and any oral argument or evidence permitted
             17   at any hearings on this motion.
             18
             19
             20   Dated: June 25, 2008                                    Respectfully submitted,
             21
             22                                                           /s/ Lori Rifkin
                                                                          Lori Rifkin
             23                                                           Rosen, Bien & Galvan
                                                                          Attorneys for Plaintiffs
             24
             25
             26
             27
             28
                  PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR INJUNCTIVE RELIEF REQUIRING TIMELY ACCESS TO INPATIENT PSYCHIATRIC
                                                                 HOSPITALIZATION
[219254-2]                                                   NO.: CIV S 90-0520 LKK-JFM
